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                                                          Exhibit A to the Complaint
Location: Philadelphia, PA                                                                               IP Address: 100.34.137.123
Total Works Infringed: 32                                                                                ISP: Verizon Fios
 Work       Hashes                                                               UTC              Site          Published     Registered   Registration
 1          Info Hash: FB6D45F0A6BD5E28A418EF8AC262EC06C6D4A40B                          05-15-   Blacked       10-31-2020    11-24-2020   PA0002265967
            File Hash:                                                                     2022
            EE6802769054BFB182B32EB472AE2616FD92D062D9A3A75A2EB5D4BA1B2F0661           17:29:45
 2          Info Hash: 8340DF7A3A5C43A154B8A190F8EB6010786137E1                          05-15-   Blacked       01-10-2020    02-04-2020   PA0002225582
            File Hash:                                                                     2022
            D43189B0C9E38B7CAC6D1348B018E82246553D9F71EC7532F1A1C1F5FB5A6A10           17:27:58
 3          Info Hash: 15703C64531B7F3820339C06473B13AB5FC50979                          05-01-   Blacked       08-24-2020    09-05-2020   PA0002255474
            File Hash:                                                                     2022   Raw
            D4CCC3F901BCC7E6E808078BDD2C1A5A072F48CB12874A84763DB3794B0A7FDD           00:02:10
 4          Info Hash: 8B14A4AE8ED2D062F6A79471C54236084FD7B64B                          05-01-   Blacked       05-05-2018    05-24-2018   PA0002101366
            File Hash:                                                                     2022
            7302A0492C329BF92DB69A82BB5F0258165D3940FD4DD4AB930E3BD6A9C8AC2C           00:01:08
 5          Info Hash: DB0A6C09AFAD8158D7C66AA690789A4FFF1E420F                          05-01-   Blacked       12-07-2020    12-28-2020   PA0002269082
            File Hash:                                                                     2022   Raw
            16C7BFE26C8FD0235DF2F746F947F27F88764464E2AA3A5129A6ADAA2B4B8F67           00:00:49
 6          Info Hash: 6EB32DF847E80D6C5B464B5437CACB83D6859117                          05-01-   Blacked       05-09-2020    06-08-2020   PA0002243649
            File Hash:                                                                     2022
            3D544C0BC82693F95C9787D0467049B078ADA2B10688785A93BC7F9275AA3A4E           00:00:34
 7          Info Hash: 100B6F9C5A2944DB7DF3364E036D66FFC17BE1A1                          05-01-   Blacked       10-04-2021    10-19-2021   PA0002317056
            File Hash:                                                                     2022   Raw
            FF6772AB803402F0031BC3D14912E9E4806C794228358FCF16C55D52261F36FF           00:00:25
 8          Info Hash: 5AF65FC2F36FDE10482D4C645E22493BBB1E7A41                          05-01-   Blacked       05-25-2020    06-22-2020   PA0002245633
            File Hash:                                                                     2022   Raw
            7D3192E9D7806075BD7916816DC9771E30741ACC903282A22FEEB98033F789D4           00:00:21
 9          Info Hash: 3A3DD7C8DBB7E5B223555D26F27B64B7090A3E57                          05-01-   Blacked       12-26-2018    02-02-2019   PA0002155307
            File Hash:                                                                     2022
            08AD74E95AD3720928E97453FC2F04E16A2221467A2120B727DEE1BA6BF28384           00:00:19
 10         Info Hash: 9B2D7FF24D25691FBFA67A7F19276AFE62D75467                          05-01-   Blacked       09-26-2020    10-22-2020   PA0002261801
            File Hash:                                                                     2022
            743F0514EE583C16D839D66F135C80AD6B68A59E4C572E24310AF5362B24EE1C           00:00:15
 11         Info Hash: A79E1BEA716422681872B46A4AC579C82B92D143                          04-30-   Blacked       12-08-2018    12-18-2018   PA0002141919
            File Hash:                                                                     2022   Raw
            4BFFA4BEDA4DA82D9C1C41DB5B85569501D6F5158228026CBE8B3B956EA24299           20:59:11
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 8DE7C4776944AE40907E75898B99D0EC6B3186CB                   04-30-   Blacked   11-07-2020   11-24-2020   PA0002265966
       File Hash:                                                              2022
       B0BEAD5CFB47D00BA746AFCB65E581AA8A28D6A99283C9CB8E3776828F2D22BD    20:59:04
13     Info Hash: 4B9E0DF0E3594DC1E77FE5C08FA2A6FEA65979DC                   04-30-   Blacked   02-26-2019   03-31-2019   PA0002163980
       File Hash:                                                              2022   Raw
       6D0B00FE6045563EFFA36214E2784DFAE617E37E8DBCA72A35C1F9D1D75D314F    20:58:48
14     Info Hash: E410F33384AA7AF5BA07E2BE74E012D22910345D                   04-30-   Blacked   06-08-2020   06-25-2020   PA0002255509
       File Hash:                                                              2022   Raw
       298EDF6A5F418A22094BF7150147769581BADDC8A9C6460E7A53579EBA1E4385    18:50:59
15     Info Hash: BCB036C989D58ECF7F9CEA9F9149936EC88CAE83                   04-28-   Blacked   09-02-2019   09-13-2019   PA0002200702
       File Hash:                                                              2022
       90FABA150526202169B855D03E9F549E10C6149131A5ED1D1ECB04B7D8BA7C44    18:05:34
16     Info Hash: F0DA147A14198B014044C1205BB3950A08D64080                   04-28-   Blacked   12-11-2018   01-22-2019   PA0002147907
       File Hash:                                                              2022
       E0CB089B233AA916BFE9DA1BC9EAC94412020D3AA408A6A4CFB754964E5B9D8D    17:57:55
17     Info Hash: 7EE0D19E00AE8631B8D576A0D8701E7C59BFD92F                   04-28-   Blacked   11-27-2021   02-03-2022   PA0002341770
       File Hash:                                                              2022
       AC967047B9431A6010B23DCE600F6B6BE7CAEAE967460D6B6C873161A24BE5F6    17:54:27
18     Info Hash: 3D28EDE594037E007579CEB7E3390ED7172D9EE4                   04-28-   Blacked   02-21-2020   03-18-2020   PA0002241534
       File Hash:                                                              2022   Raw
       CFEB57FBE5C7801F5F62DC62EB181A115ED67A61D82D3F9957322497E0929DB0    17:54:25
19     Info Hash: 45D4AF0C0675541261833DD3255ABBED35C8CBD4                   04-28-   Blacked   12-20-2018   01-22-2019   PA0002147906
       File Hash:                                                              2022   Raw
       4F731D5E327C869637362FF7ADB2E22BA17083F6DCF62EB3C556EDC2FE87FE98    17:53:15
20     Info Hash: AE239D62AECAF3E11B72744CA93C44F09BAECD9C                   04-27-   Blacked   02-11-2018   03-02-2018   PA0002104740
       File Hash:                                                              2022   Raw
       6B4C4CD4D964230FA2015B2EC284EBE46D07C20601BAA85EACA54D4B3B52BEA3    19:49:19
21     Info Hash: 16532C1256F1D8936C056A44AAECF4E274B576EB                   04-27-   Blacked   03-13-2019   04-17-2019   PA0002186977
       File Hash:                                                              2022   Raw
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D    16:41:01
22     Info Hash: CCFBB306EDF927ECCFB2A0DE17187C2DB1286649                   04-27-   Blacked   12-26-2019   01-27-2020   PA0002223955
       File Hash:                                                              2022
       71CB18DF80E67C04754D77C5108BD642EBAF2453946954CDE892950CB7DAF10B    16:40:07
23     Info Hash: 1C9EF4F47C9DF31FC3FCBF658C0B811B1899F89C                   04-27-   Blacked   07-01-2018   07-26-2018   PA0002112161
       File Hash:                                                              2022   Raw
       586893E43CB7D0015D78CEB0A8BCD237A3DA3E6EA2BDE57CF7D7278B51BC54BC    16:39:46
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: D9261D3722C161272619A45A80E6F849B0BC63B5                   04-25-   Blacked   11-18-2018   12-10-2018   PA0002146476
       File Hash:                                                              2022   Raw
       9272236D752743F64E074A94ECCD8E592FB3F4520DD24DD9BEFF5878C22DC176    23:16:39
25     Info Hash: 9A00DC56773A2DAF8A9BFE17C2984A51122FB78E                   04-25-   Blacked   09-17-2018   10-16-2018   PA0002127778
       File Hash:                                                              2022
       FBC4A307DFC7F19702E7F160ED53E04D9C37036D235F55A57AD3E47384A11A2A    23:16:19
26     Info Hash: FD622BCB0843A8B0A5C4FAAD98CA90F0DC55A559                   04-25-   Blacked   09-22-2017   10-10-2017   PA0002057455
       File Hash:                                                              2022
       B4937322F81C7CF7B8CF38C6E2BA706A84ED0E37377A132A1E82C5A6AA5B1C78    16:53:32
27     Info Hash: 2B1BABC882B4895DC5408D9D21BB65F93F3BEEC8                   04-25-   Blacked   08-10-2018   09-05-2018   PA0002135668
       File Hash:                                                              2022   Raw
       C066017535B7C091F2C4A43060E4FCAC273287C23CB26C3F48178E5B761E13DE    16:49:19
28     Info Hash: 47BF158F64C12785E111714AF9A6D0C692778D77                   04-24-   Blacked   10-02-2017   10-10-2017   PA0002086142
       File Hash:                                                              2022
       D91CEA86DB0FED8DD5A4F937683DE4F1B42E2E4D626D2290A06D6BFE11A954C6    03:29:36
29     Info Hash: FC737FCE7A9548867EF99172A2951C431AA74E03                   04-23-   Blacked   10-22-2019   11-05-2019   PA0002210294
       File Hash:                                                              2022
       B5E86EEBB2CF368BE09B3B094531A43227C492A789F82F0C087CAA730C2C7F61    16:22:26
30     Info Hash: 8353F4631A78E6DC2342C97336E4C914EF5A5F4C                   04-22-   Blacked   05-15-2019   07-05-2019   PA0002206387
       File Hash:                                                              2022
       E27F294BF15EE2AAA116EB4AD31699884120D036323B9960A2D3909627A48462    19:37:26
31     Info Hash: BD4ADA92D9E1AD87E042F305867F10A9BB39EB48                   04-22-   Blacked   09-13-2021   10-05-2021   PA0002315289
       File Hash:                                                              2022
       F1EA832C2B5392ED4C2656330A3476A419E3D7822E796D5BDF2E8BB828BA8AE2    15:33:04
32     Info Hash: 0279F8114C90ECBC2C775793D7CD9105ED963856                   04-22-   Blacked   01-15-2018   01-24-2018   PA0002101768
       File Hash:                                                              2022
       3DC45DDEEAF39622E73B28F7587BD6A4688887D83FC0D647EE20E12252B634AB    15:11:09
